            Case 3:12-cr-01605-RBB                       Document 33                Filed 05/29/12              PageID.71                Page 1 of 2


    'l:t.A0245B   (Rev. 9/00) Judgment in a Criminal Case
                  Sheet 1

                                              UNITED STATES DISTRICT CQtJRlT. 29                                                 \   "
                                                                                                                                           09
                                                  SOUTHERN DISTRICT OF CALIFORNIA
                    UNITED STATES OF AMERICA                                       JUDGMENT IN ACRIMINAL CASE
                                        v.                                         (For Offenses CommI~~7~AfterNovemberl, 1987)

                     JUSTO VELASCO-JULIAN (02)                                     Case Number: 12CR1605-RBB

                                                                                    GRANT EDDY
                                                                                   Defendant's Attorney
    REGISTRATION NO. 31765298

    o
    THE DEFENDANT:
    181 pleaded guilty to count( s) one of the Superseding Information.

    o     was found guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not gUilty.
          Accordingly, the defendant is adjudged gUilty of such count(s), which involve the following offense(s):
                                                                                                                                             Count
    Title & Section                          Nature of Offense                                                                              Number(s)
8 USC 1325                            IMPROPER ENTRY BY AN AllEN (Misdemeanor)                                                              I




        The defendant is sentenced as provided in pages 2 through _ _=.2_ _ o fthisjudgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 o   The defendant has been found not guilty on count(s)
                                                            ----------------------------------------------
 181 Count(s) ONE OF THE INFORMAnON                                     is 181 areO dismissed on the motion ofthe United States.
 181 Assessment: $10.00 REMITTEDIWAlVED.

 181 No fine                                        0 Forfeiture pursuant to order filed                                       , included herein.
       IT IS ORDERED that the defendant shall notifY the United States attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution. the
 defendant shall notify the court and United States attorney of any material change in the defendant's economic circumstances.

                                                                               MAY 29, 2012




                                                                              HON. RUBEN B. BROOKS
                                                                              UNITED STATES MAGISTRATE JUDGE

                                                                                                                                                12CR1605-RBB
      Case 3:12-cr-01605-RBB                        Document 33             Filed 05/29/12     PageID.72        Page 2 of 2


AO 245B     (Rev, 9/00) Judgment in Criminal Case
            Sheet 2 Imprisonment

                                                                                               Judgment - Page _ _2 _ of       2
 DEFENDANT: JUSTO VELASCO-JULIAN (02)
CASE NUMBER: 12CR1605-RBB
                                                            IMPRISONMENT
          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
          SIXTY (60) DAYS.




   o      Sentence imposed pursuant to Title 8 USC Section l326(b).
   o      The court makes the following recommendations to the Bureau of Prisons:




    o     The defendant is remanded to the custody of the United States Marshal.

    o     The defendant shall surrender to the United States Marshal for this district:
            Oat                                     Oa.m.     Op.m.         on _ _ _ _ _ _ _ _ _ __

                as notified by the United States Marshal.

    o     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           0 ____________________________________________________
           o    as notified by the United States Marshal.

           o    as notified by the Probation or Pretrial Services Office.


                                                                 RETURN

 I have executed this judgment as follows:

          Defendant delivered on                                                    to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                             UNITED STATES MARSHAL


                                                                       By ________~~~~==~~~~~----------
                                                                                          DEPUTY UNITED STATES MARSHAL




                                                                                                                     12CR1605-RBB
